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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL

       Case No. SA CV 22-00099-DOC-DFM                                                      Date: June 11, 2022

   Title: JOHN EASTMAN V. BENNIE THOMPSON ET AL.

   PRESENT:

                           THE HONORABLE DAVID O. CARTER, JUDGE

                    Deborah Lewman                                                 Not Present
                    Courtroom Clerk                                               Court Reporter

            ATTORNEYS PRESENT FOR                                      ATTORNEYS PRESENT FOR
                  PLAINTIFF:                                                DEFENDANT:
                       None Present                                               None Present



            PROCEEDINGS (IN CHAMBERS): ORDER RE: MOTION TO
                                       CORRECT ORDER [363]

          On June 7, 2022, the Court published its Order Re: Privilege of 599 Documents
   Dated November 3, 2020 - January 20, 2021 (“Order”) (Dkt. 356), and found that 440
   documents are privileged and the remaining 159 documents must be disclosed. The Court
   is now in receipt of Plaintiff Dr. John Eastman’s (“Dr. Eastman”) Motion to Correct
   Order (“Mot.”) (Dkt. 363), which he filed on June 10, 2022.1

          Dr. Eastman contends that he “encountered several discrepancies in the Court’s
   order” and thus “seeks correction or clarification of several issues.”2 Dr. Eastman moves
   for “corrections” under Federal Rule of Civil Procedure 60(a), which states “[t]he court
   may correct a clerical mistake or a mistake arising from oversight or omission whenever
   one is found in a judgment, order, or other part of the record.”

           With respect to Dr. Eastman’s confusion over the redaction process, the Court
   reiterates its prior holding: Dr. Eastman shall redact the two emails listed in footnote 99


   1
     The Court finds this matter appropriate for resolution without oral argument. See Fed. R. Civ. P. 78; C.D. Cal. R.
   7-15.
   2
     Mot. at 2.
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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

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   “when they appear in otherwise-disclosed documents.”3

          The Court addresses Dr. Eastman’s Rule 60(a) typographical and ministerial
   requests as follows. First, the Court fixes a clerical error and protects document 23591.
   Second, the Court corrects a typographical error in footnote 20 and changes document
   23450 to document 23550. Third, the Court corrects its oversight and protects the nine
   documents because they pertained to a legal filing.4

           The remainder of Dr. Eastman’s claims are not clerical errors or requests for
   clarification but disagreements with the Court’s legal conclusions. Dr. Eastman’s
   arguments are masked requests for reconsideration under Rule 60(b), which is only
   applicable in exceptional circumstances. Rule 60(b) “provides for reconsideration only
   upon a showing of: (1) mistake, surprise, or excusable neglect; (2) newly discovered
   evidence; (3) fraud; (4) a void judgment; (5) a satisfied or discharged judgment; or
   (6) ‘extraordinary circumstances’ which would justify relief.”5 In addition, Central
   District of California Local Rule 7-18 provides that a motion for reconsideration may be
   made only on the following grounds:
             (a) a material difference in fact or law from that presented to the Court before such decision that
             in the exercise of reasonable diligence could not have been known to the party moving for
             reconsideration at the time of such decision, or (b) the emergence of new material facts or a
             change of law occurring after the time of such decision, or (c) a manifest showing of a failure to
             consider material facts presented to the Court before such decision.6

   Local Rule 7-18 also states that “[n]o motion for reconsideration shall in any manner
   repeat any oral or written argument made in support of or in opposition to the original
   motion.”7

           Dr. Eastman first asks the Court to reconsider its decision with respect to three
   communications from his client President Trump.8 In particular, Dr. Eastman requests
   that the Court read these emails in the context of simultaneous Pennsylvania litigation.9
   However, “[a]s with all evidentiary privileges, the burden of proving that the attorney-
   client privilege applies rests not with the party contesting the privilege, but with the party

   3
     Order at 26 n.171.
   4
     21105; 21106; 21111; 21113; 21116; 21117; 21122; 21124; 21126.
   5
     Sch. Dist. No. 1J, Multnomah Cty. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993) (quoting Fuller v. M.G.
   Jewelry, 950 F.2d 1437, 1442 (9th Cir. 1991)).
   6
     C.D. Cal. R. 7-18.
   7
     Id.
   8
     Mot. at 2.
   9
     Id. at 2-3.
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                                        UNITED STATES DISTRICT COURT
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   asserting it.”10 In his privilege log, Dr. Eastman provided the Court with vague or
   conclusory descriptions: “Attachment: News story”11 and “Attachment: Photo with client
   handwritten note re issues for anticipated litigation.”12 His brief added no additional
   detail, stating the documents were “hand-written notes from former President Trump
   about information that he thought might be useful for the anticipated litigation—again,
   quintessential privileged material.”13 Dr. Eastman later listed these documents in a
   section titled, “Texas v. Pennsylvania, et al., No. 22O155 (S.Ct. filed Dec. 7, 2020)” but
   failed to explain how these documents were connected to that suit.14 Even now, Dr.
   Eastman asks the Court to use the date of these emails to conclude that they were made in
   anticipation of litigation.15 If the Court were to apply Dr. Eastman’s tenuous reasoning,
   nearly all emails between attorneys and clients sent during a case would be protected.
   Accordingly, there is no basis for the Court to reconsider its previous decision on these
   documents and Dr. Eastman is ORDERED to disclose them.

          Dr. Eastman next requests that the Court protect three emails that it found were
   not confidential, arguing that the potential clients were also requesting legal advice from
   the other three Trump lawyers on the chain.16 As the Court noted in its prior Order, Dr.
   Eastman failed to support his claims of the other three attorney-client relationships. Dr.
   Eastman submitted a declaration from only one of these three attorneys—but that
   declaration did not mention working with any legislators in any capacity.17 As the Court
   held previously, “[w]ithout further evidence specifying the relationship between these
   Trump attorneys and this state legislator, the Court cannot find these communications to
   be confidential.”18 Accordingly, there is no basis for the Court to reconsider its previous
   decision on these documents and Dr. Eastman is ORDERED to disclose them.

          Dr. Eastman also disagrees with the Court’s finding that two emails in a thread
   were not protected work product.19 As the Court previously stated, the initial email is a
   third party reaching out to offer a “strong rhetorical point” because the he “personally
   ha[d]n’t heard Rudy or any other high profile speaker making it.”20 The content of the
   email makes clear that it is general strategic advice for the Trump team’s election
   10
      Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 25 (9th Cir. 1981) (citations omitted).
   11
      Privilege log, 25167; Privilege log, 25170.
   12
      Privilege log, 25905.
   13
      Brief (Dkt. 345) at 15.
   14
      Id. at 20.
   15
      Mot. at 2-3.
   16
      Id. at 3.
   17
      See Declaration of Kurt Olsen (Dkt. 346-6).
   18
      Order at 18.
   19
      Mot. at 5.
   20
      Order at 10; 23893.
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                                      UNITED STATES DISTRICT COURT
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   advocacy. The fact that Dr. Eastman ultimately used this rhetorical point in a brief does
   not mean that the other emails “would not have been created in substantially similar form
   but for the prospect of that litigation.”21 Accordingly, there is no basis for the Court to
   reconsider its previous decision on these documents and Dr. Eastman is ORDERED to
   disclose them.

          Dr. Eastman additionally disagrees with the Court’s characterization of several
   emails with statisticians. As an example, Dr. Eastman argues that some emails are
   “specifically designated as ‘Attorney Work Product’” and thus are protected.22 But
   merely including these words does not satisfy Dr. Eastman’s burden to demonstrate that
   the documents are protected. None of Dr. Eastman’s other arguments are valid bases for
   reconsideration, and the Court maintains the reasoning in its prior Order. Accordingly,
   Dr. Eastman is ORDERED to disclose the unprotected documents.

           Dr. Eastman’s final request is “that he be permitted to redact the names of his
   statistical experts.”23 However, “[a]rguments not raised by a party in its opening brief are
   deemed waived.”24

          Dr. Eastman is ORDERED to produce the remaining documents on a rolling
   basis, with all documents to be produced by 12:00 pm Pacific Time on Monday, June 13,
   2022.

           The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11
    CIVIL-GEN                                                                       Initials of Deputy Clerk: djl




   21
      In re Grand Jury Subpoena (Mark Torf/Torf Envtl. Mgmt.), 357 F.3d 900, 908 (9th Cir. 2003).
   22
      Mot. at 6.
   23
      Id. at 7.
   24
      Friends of Yosemite Valley v. Kempthorne, 520 F.3d 1024, 1033 (9th Cir. 2008).
